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                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)              )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                       )
                                                                                                                         )   Case No. C-07-5944-SC
                                                                          9                                              )
                                                                                                                         )   ORDER DENYING DIRECT ACTION
                                                                         10   This Order Relates To:                     )   PLAINTIFFS' RENEWED MOTION
                               For the Northern District of California
United States District Court




                                                                                                                         )   TO COMPEL PRODUCTION OF THE
                                                                         11                                              )   EUROPEAN COMMISSION
                                                                              ALL DIRECT ACTION PLAINTIFF                )   DECISION
                                                                         12   ACTIONS                                    )
                                                                                                                         )
                                                                         13                                              )
                                                                                                                         )
                                                                         14                                              )
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                                                                         15                                              )
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                                                                         16                                              )
                                                                         17
                                                                         18   I.     INTRODUCTION
                                                                         19          Now before the Court is Direct Action Plaintiffs' ("DAPs")
                                                                         20   renewed motion to compel Defendants to produce a confidential
                                                                         21   decision (the "Decision") by the European Commission ("EC")
                                                                         22   reflecting its investigation into allegations of a global
                                                                         23   conspiracy to fix the prices for cathode ray tubes ("CRTs") and
                                                                         24   color picture tubes ("CPTs").         The motion is fully briefed1 and
                                                                         25   appropriate for resolution without oral argument under Civil Local
                                                                         26   Rule 7-1(b).      For the reasons set forth below, the motion is
                                                                         27
                                                                              1
                                                                         28     ECF Nos. 2843 ("Mot."); 2873 ("Opp'n"); 2896 ("Reply"); 2919
                                                                              ("Notice").
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                                                                          1   DENIED.    DAPs also request, in the alternative, that the Court
                                                                          2   request the Decision directly from the EC.        This request is DENIED
                                                                          3   without prejudice.
                                                                          4
                                                                          5   II.     BACKGROUND
                                                                          6           In this motion, DAPs renew their earlier request for an order
                                                                          7   compelling Defendants to produce the EC's Decision.          The EC has not
                                                                          8   yet published a public or redacted version of the Decision, but
                                                                          9   various public documents confirm its broad contours.          The Decision
                                                                         10   found the existence of two highly organized cartels comprised of,
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                                                                         11   generally speaking, the same defendants here, which were aware of
                                                                         12   the illegality of their activities and ultimately successful in
                                                                         13   imposing price increases on consumers in the CRT and CPT
                                                                         14   industries.    See ECF No. 2446 at Exs. 2-3.      Based on these
                                                                         15   findings, the EC imposed a collective fine of more than € 1.47
                                                                         16   billion.    Id. at Ex. 2.   When the EC issued the Decision, it said
                                                                         17   it was working with the companies involved to prepare a public,
                                                                         18   redacted version of the Decision "with a view to a quick
                                                                         19   publication," although such a version has not been published to
                                                                         20   date.    Id. at Ex. 4.
                                                                         21           The Decision has been the target of discovery in this
                                                                         22   litigation since 2010, but Defendants have refused to produce the
                                                                         23   Decision citing their belief that European Union ("EU") law and EC
                                                                         24   policy prohibit the disclosure of such decisions.         DAPs disagree,
                                                                         25   and in March 2014 moved to compel production of the Decision before
                                                                         26   the Special Master.      Id. at 1.   The Court withdrew the reference
                                                                         27   and denied the motion without prejudice, finding that the interests
                                                                         28   of international comity outweighed the interest of disclosure.         ECF



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                                                                          1   No. 2463 ("Prior Order") at 8.      In doing so, the Court noted
                                                                          2   "Defendants seem optimistic about the EC's publication of a public
                                                                          3   version of the Decision before the close of discovery in this case.
                                                                          4   They are advised to assist in that task."        Id.
                                                                          5        Now that discovery has closed and the Decision has still not
                                                                          6   been published publicly, DAPs renew their motion.         In support of
                                                                          7   the motion, DAPs argue that because discovery has now closed and
                                                                          8   the trial date is rapidly approaching, the balance between comity
                                                                          9   and the importance of the Decision to this litigation has so
                                                                         10   shifted as to now justify production.       Furthermore, DAPs point out
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                                                                         11   that in another proceeding, Vichi v. Koninklijke Philips
                                                                         12   Electronics, N.V., 85 A.3d 725 (Del. Ch. 2014), the EC made a
                                                                         13   partially redacted version of the Decision available in response to
                                                                         14   a request for assistance from the Delaware Chancery Court.         Id. at
                                                                         15   751 & n.180.    As a result, DAPs submit that the balance of the
                                                                         16   relevant factors has changed such that the Court should order
                                                                         17   Defendants to produce a copy of the decision or, in the
                                                                         18   alternative, formally request the assistance of the EC in obtaining
                                                                         19   the Decision.   Mot. at 2-3.     Defendants oppose both requests.
                                                                         20        Shortly after this motion was fully briefed, the Court
                                                                         21   received a notice from the California Attorney General's (the "AG")
                                                                         22   office including official correspondence from the EC's Directorate
                                                                         23   General for Competition ("DG Competition") regarding the AG's
                                                                         24   efforts to obtain a redacted public version of the Decision.
                                                                         25   Notice at 2; Ex. 2 ("DG Competition Ltr.").        In that
                                                                         26   correspondence, the EC explains its publication process and the
                                                                         27   variables that may impact the publication schedule.          While the EC
                                                                         28   states that due to these variables "no precise publication date can



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                                                                          1   be given," "the case team gives its best effort in completing a
                                                                          2   public version of the decision still during this autumn or at least
                                                                          3   publishing a provisional version before the European Commission
                                                                          4   Christmas holidays break."     DG Competition Ltr. at ¶ 15.
                                                                          5
                                                                          6   III. LEGAL STANDARD
                                                                          7        As it did with DAPs' earlier motion to compel, the Court
                                                                          8   applies the factors identified by the Supreme Court in Société
                                                                          9   Nationale Industrielle Aérospatiale v. United States District Court
                                                                         10   for the Southern District of Iowa, 482 U.S. 522 (1987).            In
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                                                                         11   Aerospatiale, the Supreme Court held that courts assessing whether
                                                                         12   foreign law excuses noncompliance with a United States court's
                                                                         13   discovery orders should consider:
                                                                         14        (1) the importance to the . . . litigation of the
                                                                                   documents or other information requested; (2) the degree
                                                                         15        of   specificity  of   the  request;  (3)   whether  the
                                                                                   information originated in the United States; (4) the
                                                                         16        availability of alternative means of securing the
                                                                                   information; and (5) the extent to which noncompliance
                                                                         17        with the request would undermine important interests of
                                                                                   the United States, or compliance with the request would
                                                                         18        undermine important interests of the state where the
                                                                                   information is located.
                                                                         19
                                                                         20   Id. at 544 n.28; see also Richmark Corp. v. Timber Falling
                                                                         21   Consultants, 959 F.2d 1468, 1474-75 (9th Cir. 1992).          This list is
                                                                         22   not exhaustive.   The Ninth Circuit has also considered other
                                                                         23   factors, including "the extent and the nature of the hardship that
                                                                         24   inconsistent enforcement would impose upon the person, . . . [and]
                                                                         25   the extent to which enforcement by action of either state can
                                                                         26   reasonably be expected to achieve compliance with the rule
                                                                         27   prescribed by that state."     United States v. Vetco, Inc., 691 F.2d
                                                                         28   1281, 1287 (9th Cir. 1981); Richmark, 959 F.2d at 1475.



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                                                                          2   IV.   DISCUSSION
                                                                          3         As a preliminary matter, the weight of several of the
                                                                          4   Aerospatiale factors is unchanged from the Court's ruling on DAPs'
                                                                          5   earlier motion to compel.     For example, the fact that the Decision
                                                                          6   originated in the EU still weighs against production.          Prior Order
                                                                          7   at 5; see also In re Rubber Chems. Antitrust Litig., 486 F. Supp.
                                                                          8   2d 1078, 1083 (N.D. Cal. 2007).      Additionally, specificity once
                                                                          9   again weighs in favor of production.       Prior Order at 4.
                                                                         10         Despite Defendants' arguments to the contrary, the Decision
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                                                                         11   also remains important to this litigation.        While Defendants argue
                                                                         12   that subtle differences in the cartel conduct at issue in the
                                                                         13   Decision and the allegations here, as well as the extensive
                                                                         14   discovery already completed, render the Decision only minimally
                                                                         15   important, the Court's earlier findings on this factor need not be
                                                                         16   disturbed: "the Decision is relevant, because DAPs' and other
                                                                         17   plaintiffs' allegations in this case have always concerned the
                                                                         18   international character of the alleged CRT conspiracy."            Prior
                                                                         19   Order at 5.   In short, regardless of how the EC refers to the
                                                                         20   conspiracies in the Decision, the underlying conduct -- price
                                                                         21   fixing in the CRT and CPT markets -- indisputably overlaps with the
                                                                         22   conduct at issue here.     Furthermore, the EC's decision is over 350
                                                                         23   pages long, DG Competition Ltr. at ¶ 12, and includes a
                                                                         24   "comprehensive recitation of facts that are determined through
                                                                         25   lengthy and thorough investigative and adjudicatory processes."
                                                                         26   Mot. at 3.    While extensive discovery has taken place to date, the
                                                                         27   factual detail contained in the Decision is likely to be of
                                                                         28   significant value in helping Plaintiffs organize their case and may



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                                                                          1   identify previously undiscovered competitor contacts or other
                                                                          2   highly relevant conduct.     Accordingly, this factor continues to
                                                                          3   weigh in favor of disclosure.
                                                                          4        Despite the Decision's importance to this litigation and the
                                                                          5   rapidly approaching trial date, the Court remains convinced that
                                                                          6   denying the motion to compel is the right course for three reasons.
                                                                          7   First, EU law and EC policy remain unchanged: "disclosure of the
                                                                          8   Decision would violate foreign law, frustrate the EC's
                                                                          9   investigations of antitrust cases, and subject Defendants to harsh
                                                                         10   sanctions at home and abroad."      Prior Order at 7; see also id. at
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                                                                         11   7-8 (reviewing specific EU law and EC regulations and the
                                                                         12   importance of the DG Competition to the EU's antitrust
                                                                         13   enforcement).   These concerns are not insignificant, as they
                                                                         14   threaten to undermine the DG Competition, "the European Union's
                                                                         15   primary antitrust law enforcer."      Intel Corp. v. Advanced Micro
                                                                         16   Devices, Inc., 542 U.S. 241, 250 (2004).        Furthermore, as the Court
                                                                         17   previously found, the importance of the EC's leniency program, and
                                                                         18   cooperation between the EC and United States law enforcement
                                                                         19   agencies including the Department of Justice, also militate against
                                                                         20   disclosure.   Prior Order at 7-8.     Second, and relatedly, having
                                                                         21   reviewed the DG Competition's letter, the Court sees no reason to
                                                                         22   short-circuit the EC's publication process when the EC appears
                                                                         23   confident that at least a provisional version of the Decision may
                                                                         24   be published in approximately one month.        Even if, as the DG
                                                                         25   Competition speculates, the EC is only able to publish a
                                                                         26   provisional version prior to the EC's Christmas holiday break, that
                                                                         27   will still obviate any need to offend EU law and EC policy by
                                                                         28   ordering production of the Decision.



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                                                                          1        The final reason for denying the motion, the availability of
                                                                          2   the Decision outside this demand for production, merits separate
                                                                          3   consideration.    Since the Court's prior decision, DAPs point out
                                                                          4   that the EC made a partially redacted version of the Decision
                                                                          5   available in response to a request for assistance from the Delaware
                                                                          6   Chancery Court.   See Vichi, 85 A.3d at 751 & n.180.         In the Court's
                                                                          7   view this actually cuts against granting the motion to compel
                                                                          8   because it suggests that, contrary to the Court's previous
                                                                          9   conclusion, there actually is a means of accessing the Decision
                                                                         10   "without contravening EU law and policy."        Prior Order at 6.
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                                                                         11   Accordingly, the Court finds this factor now weighs against
                                                                         12   granting the motion to compel.
                                                                         13        Considering the factors identified in Aerospatiale, the Court
                                                                         14   concludes that comity, the origin of the Decision, and the
                                                                         15   availability of the Decision through other means outweigh the other
                                                                         16   factors.   Additionally, the Court does not envision that the weight
                                                                         17   of these factors will change significantly enough to justify
                                                                         18   compelling the disclosure of the Decision directly from Defendants
                                                                         19   regardless of the status of this case.        Accordingly, the motion to
                                                                         20   compel is DENIED with prejudice.
                                                                         21        Nonetheless, the Court must still address Plaintiffs'
                                                                         22   alternative proposal that the Court request the Decision directly
                                                                         23   from the EC as in the Vichi case.        Defendants suggest the procedure
                                                                         24   adopted in Vichi would be inappropriate here for two reasons: (1)
                                                                         25   the EC already sent a letter to Defendants here opposing the
                                                                         26   disclosure of the Decision, thus suggesting that it would oppose a
                                                                         27   request from the Court, and (2) the Decision was more central to
                                                                         28   the Vichi litigation.     The Court disagrees with these arguments.



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                                                                          1   First, the letter Defendants refer to, ECF No. 2449-4 ("Van
                                                                          2   Ginderachter Ltr."), sent by the DG Competition was intended "to
                                                                          3   draw your attention to the fact that any such disclosure of [the
                                                                          4   Decision on a motion to compel] would be made in contravention of
                                                                          5   Commission rules and state policy on this issue."         Id. at 1
                                                                          6   (emphasis added).    In other words, the letter was intended to
                                                                          7   inform the parties and the Court that disclosure of the Decision by
                                                                          8   the Defendants would contravene EC policy and EU law.          Given the
                                                                          9   contrary evidence in Vichi and the fact that this letter was
                                                                         10   specifically targeted at disclosure of the Decision by the
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                                                                         11   Defendants, there is no reason to conclude the EC's response would
                                                                         12   be the same if the Court were to request the EC provide the
                                                                         13   Decision directly.    Second, even though, unlike Vichi, this case
                                                                         14   does not involve the question of whether the Decision has any
                                                                         15   collateral estoppel effect, the Decision still is "directly
                                                                         16   relevant to U.S. liability issues."        Opp'n at 8.    After all, the
                                                                         17   Decision details conduct that Plaintiffs argue is actionable under
                                                                         18   United States antitrust laws.      Furthermore, there simply is no
                                                                         19   basis on the face of the Vichi opinion for speculating as to why
                                                                         20   the EC agreed to provide a version of the Decision.          Without more,
                                                                         21   the Court cannot conclude that the EC would refuse to provide the
                                                                         22   Decision here.
                                                                         23        Nevertheless, the Court believes issuing such a request at
                                                                         24   this time would be inappropriate in light of the EC and DG
                                                                         25   Competition's statements that they should be able to publish at
                                                                         26   least a provisional version of the Decision by their Christmas
                                                                         27   holiday.   As a result, the Court DENIES Plaintiffs' request without
                                                                         28   prejudice.   If at least a provisional version of the Decision has



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                                                                          1   still not been published following the EC's Christmas holiday,
                                                                          2   Plaintiffs may file a motion seeking the issuance of such a
                                                                          3   request.
                                                                          4
                                                                          5   V.   CONCLUSION
                                                                          6        For the reasons set forth above, the Court finds that the
                                                                          7   factors identified in Aerospatiale weigh against granting
                                                                          8   Plaintiffs' the motion to compel.        Because the Court does not
                                                                          9   envision that the weight of these factors will change significantly
                                                                         10   enough to justify compelling the disclosure of the Decision
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                                                                         11   directly from Defendants, the motion to compel is DENIED with
                                                                         12   prejudice.
                                                                         13         Plaintiffs' alternative request that the Court seek the
                                                                         14   Decision directly from the EC is DENIED without prejudice.         If at
                                                                         15   least a provisional version of the Decision has still not been
                                                                         16   published following the EC's "Christmas holidays break," Plaintiffs
                                                                         17   may file a motion seeking the issuance of such a request.
                                                                         18
                                                                         19        IT IS SO ORDERED.
                                                                         20
                                                                         21        Dated: November 20, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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